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Attorney for Defendant,
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TING & COMMUNICATIONS CoO., INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BRIAN J. KRUEGER,
Plaintiff,
v.

ADLIFE MARKETING &
COMMUNICATIONS CoO., INC.

Defendant.

 

 

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Case 2:20-cv-07083-VAP-PJW

DECLARATION OF THEODORE
W. SELL

 

DECLARATION OF THEODORE W. SELL

 
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DECLARATION OF THEODORE W. SELL

I, Theodore W. Sell, declare as follows:

1. Tam over the age of 18 years old and I have personal knowledge of the
matters stated herein. If called as a witness I could and would testify thereto.

2 I am a graduate of the William S. Boyd School of Law at the
University of Nevada Las Vegas.

3. Since 2019, I have been employed by the Law Firm of Higbee &
Associates.

4, While Higbee & Associates is headquartered in Santa Ana, California,
the firm has offices and full time employees outside of California.

Bs I currently reside in the state of Nevada.

6. During my entire term of employment, I have worked at or was based
in Higbee & Associates’ office in Nevada, working from home during the
pandemic.

7. I have never worked in Higbee & Associates’ Santa Ana office.

8. Between June and July 2020, I corresponded on behalf of Higbee &
Associates’ client, Adlife Marketing & Communications Co. Inc., with an
individual named Brian J. Krueger regarding a copyright infringement matter on the
website www.labspaces.net.

9. All of my communications with Mr. Krueger took place from Higbee

& Associates’ office in Las Vegas, Nevada.

I declare under penalty of perjury that the foregoing is true and correct under
the laws of the United States of America.
Executed this October 1, 20, at Las Vegas, Nevada,
“Theodore W. Sell ¢

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DECLARATION OF THEODORE W. SELL

 

 
